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                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF KENTUCKY
                                           ___________DIVISION
                                            LOUISVILLE




 ___________________
 GENERAL STAR INDEMNITY COMPANY




 -vs-                                                           Case No.:______________________
                                                                         3:21-CV-206-GNS


 __________________
 LOUISVILLE AREA GOVERNMENTAL SELF


 ,QVXUDQFH7UXVWHWDO
                                     ORDER FOR ADMISSION PRO HAC VICE

        The motion for admission to practice pro hac vice in the above-captioned matter is granted.
 The Applicant, ________________,
                 Alexander T. Brown        is permitted to argue or try this case in whole or in part as
 counsel for ______________________________________________________________.
             Defendants, Jeffrey D. Clark and Garr K. Hardin




                                                                        May 6, 2021
